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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION



SCANNING TECHNOLOGIES
INNOVATIONS, LLC,
                                                Case No. 6:21-cv-00492
          Plaintiff,
                                                   PATENT CASE
     v.
                                             JURY TRIAL DEMANDED
EZ WEB ENTERPRISES, INC.

          Defendant.


EZ WEB ENTERPRISES INC.’S MOTION FOR JUDGMENT ON THE PLEADINGS
             WITH MEMORANDUM OF LAW IN SUPPORT
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         Plaintiff Scanning Technologies is an established non-practicing entity, and its

principal (and sole inventor of the asserted patent) has a history of filing serial litigation but

then dismissing cases when met with resistance, before any decisions can be rendered on the

merits. Since January 1, 2020, Scanning Technologies has filed thirty cases in ten different

federal jurisdictions, all of which assert either the ’101 Patent, or U.S. Patent. No. 9,934,528

(the “’528 Patent”). Both the ’101 and the ’528 patents are continuations of (and claim

priority to) U.S. patent application Ser. No. 13/405,246 filed on Feb. 25, 2012, now U.S. Pat.

No. 8,469,270. Scanning Technologies twice agreed to dismiss cases with prejudice after a

35 U.S.C. § 101 motion was filed, but before such motion could be heard. See, e.g., Scanning

Technologies LLC v. Linga, LLC, 2-20-cv-00429 (M.D. Fl.), Scanning Technologies v.

Eposnow, LLC, 6-20-cv-00990 (M.D. Fl.). Additionally, defendants in other jurisdictions are

seeking dismissal under 35 U.S.C. § 101. See, e.g. Scanning Technologies v. Night Out, Inc.

2-21-cv-02620 (C.D. Cal.)1, Scanning Technologies v. Finale, Inc., 5-21-cv-03119 (N.D.

Cal.). Scanning Technologies’s repeated lawsuits, coupled with its decisions to dismiss such

suits in view of a 35 U.S.C. § 101 motion, make this one of the “rare cases where it is

appropriate to resolve Section 101 eligibility of the patents-in-suit as a Rule 12(b) motion to

dismiss.” Aeritas LLC v. Sonic Corp., 6:20-CV-00103-ADA (Mar. 14, 2020).

         Indeed, in a similar case concerning a patent by the same inventor, Leigh Rothschild,

the court found the case exceptional in part due to the plaintiff’s “vexatious litigation.”

Rothschild Digital Confirmation, LLC v. CompanyCam, Inc., 494 F. Supp. 3d 263, 267 (D.

Del. 2020). In Rothschild, the plaintiff filed eleven cases asserting infringement of the

patent-in-suit in the span of two years. Id. at 264. Defendant CompanyCam moved to dismiss

the case on patent eligibility grounds, and the court stated it would grant the motion during

the oral argument of the motion. Id. The plaintiff then dismissed the case before the Court’s

order was entered and prolonged litigation against defendants in other cases. Id. at 268. The



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    Fish and Richardson represents Night Out, Inc. and has informed Scanning Technologies of

      Night Out’s intent to file a motion to dismiss under 35 U.S.C. § 101.

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District of Delaware described the plaintiff’s litigation conduct as “troubling” and deemed

the case exceptional in view of the totality of circumstances and awarded attorneys’ fees to

the defendant. Id. at 267-269. The court was also concerned about the plaintiff’s principal’s

conduct, noting that Mr. Rothschild had filed 820 lawsuits without reaching the merits in any

of them. Id. at 266. Scanning Technologies has demonstrated similar litigation conduct here,

and without an early look at the merits, they may continue their vexatious litigation without

risking a decision on the merits. Thus, this case, and the instant motion, merits treatment as a

“rare case.” Aeritas LLC, 6:20-CV-00103-ADA.
I.     STAGE AND NATURE OF PROCEEDINGS

       On May 12, 2021, Plaintiff Scanning Technologies Innovations (“Scanning

Technologies” or “Plaintiff”) filed this lawsuit accusing Defendant EZ Web, Enterprises, Inc.

(“EZ Web”) of infringing U.S. Patent No. 10,600,101, entitled “Systems and Methods for

Indicating the Existence of Accessible Information Pertaining to Articles of Commerce” (the

“’101 Patent” or “Asserted Patent”). Scanning Technologies accuses EZ Web’s

EZOfficeInventory system, associated hardware and software, and similar products of

infringing at least Claim 1 of the ’101 Patent. (D.I. 1 at ¶¶ 13–26.).
II.    SUMMARY OF THE ARGUMENT

       EZ Web moves to dismiss Scanning Technologies’ Complaint pursuant to Rule 12(c)

of the Federal Rules of Civil Procedure for judgment on the pleadings. The claims of the

Asserted Patent are invalid because they are directed to patent-ineligible subject matter under

35 U.S.C. § 101. The claims recite the mere notion of using generic computer components to

achieve the abstract idea of communicating information about an article of commerce by use

of a marking. Indeed, the claims at issue here “fall into a familiar class of claims “directed

to” a patent-ineligible concept.” Electric Power Group, LLC v. Alstom S.A., 830 F.3d 1350,

1353 (Fed. Cir. 2016). Much like the Barcode and QR claims at issue in Secured Mail, the

claims at issue here “merely provide that an identifier is affixed to [an article of commerce]

that is used by the recipient to request and display electronic information.” Secured Mail
Solutions LLC v. Universal Wilde, Inc., 873 F.3d 905, 910 (Fed. Cir. 2017).


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        Moreover, the recited components, “a mobile device” comprising a “signal processing

device” and a “visual input device,” and “a server,” do not amount to any technical

improvement in the functioning of the system or any components. Rather, these components

are used only as tools to implement the abstract idea of communicating information about an

article of commerce by use of a marking. See BSG Tech LLC v. Buyseasons, Inc., 899 F.3d

1281, 1290–91 (Fed. Cir. 2018) (“If a claim’s only ‘inventive concept’ is the application of

an abstract idea using conventional and well-understood techniques, the claim has not been

transformed into a patent-eligible application of an abstract idea.”). The claims of the ’101

Patent thus lack an inventive concept.

        Resolving this issue does not require discovery or formal claim construction. The

’101 Patent does no more than disclose an abstract idea using conventional and well-known

components. Therefore, the claims of the patent are invalid under § 101 for failure to claim

patent eligible subject matter. To avoid waste of judicial and party resources unnecessarily

litigating an invalid patent, EZ Web thus requests that the Court enter judgment in its favor

on the causes of action in the Complaint pursuant to Rule 12(c) of the Federal Rules of Civil

Procedure.
III.    STATEMENT OF THE FACTS

        The ’101 Patent was filed on April 9, 2018, and issued on March 24, 2020. It is

entitled “[s]ystems and methods for indicating the existence of accessible information

pertaining to articles of commerce,” and is directed to “systems and methods for enabling a

mobile device to indicate the existence of accessible information about an identified article of

commerce.” ’101 Patent at 1:28-30.

        The applicant acknowledged that numerous technologies existed at the time of their

application. Id. For example, the applicant acknowledged that “[p]ortable digital devices are

now common.” Id. at 1:34. The applicant further acknowledged that “[v]arious

communications technologies are frequently built into these devices” and “mobile devices

may employ an incorporated imaging device to scan Universal Product Codes (UPCs) or
other symbologies disposed on articles of commerce to receive more information on such

articles.” Id. at 1:48, 1:59-62. The problem identified by the applicant was that “devices take
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time to connect to the internet (if internet service is even available) and then the user still

may or may not have information on the article of commerce.” Id. at 1:64–1:66. The

applicant contended that the delay and lack of information led to user frustration. Id. at 1:66-

2:2. The applicant thus proposed a solution whereby a user may be notified of the existence

of a link to information of an article of commerce. Id. at 2:17–19.

        But the applicant described his “solution” only with generic components and only at a

high-level of generality. For example, exemplary Claim 1 of the ’101 Patent describes “a

system for indicating an existence of a link” consisting of: (1) a mobile device; (2) digital

files; and (3) a server. Id. at Cl. 1. It requires that the server “store a look-up table that

includes at least a plurality of bar codes associated with a plurality of articles of commerce.”

Id. The claimed mobile device includes: (1) a signal processing device; and (2) a visual input

device. Id. Neither the claims nor the specification discloses any special algorithms or

programming.

        The specification states that Figure 3, below, depicts “a system in accordance with the

present disclosure.” Id. at 8:62–63.




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Id., Fig. 3. In Fig. 3, mobile device 100 is associated with database 110. Id. at 8:63-65.

Database 110 may be stored in internal memory of mobile device 100 (e.g., storage module

110) or external memory communicably coupled to mobile device 100. Id. The mobile

device 100 communicates to a server 304 via communication network 302 via any form of

communication and protocol means. Id. at 9:5–23. Server 304 stores look-up tables in storage

medium 306. Id. at 9:23-24. The look-up tables stores information such as Universal Product

Codes (UPCs) and information links. Id. at 9:23–25. Also depicted is product 310

comprising barcode 312 which may be scanned by mobile device 100.

       The mobile device 100 downloads at least one look-up table from storage 306 to

database 110 via communication medium 308. Mobile device 100 may then be used to scan

barcode 312. Upon scanning barcode 312, mobile device 100 may look up product 310 in

database 110 (which contains the look-up table downloaded from storage 306). The mobile
device may then learn of the existence of a link to more information regarding product 310.

Thus, the Asserted Patent claims communicating information (existence of a link to more
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information) about an article of commerce by a barcode, which can be scanned by a mobile

device to communicate the information.

        Additionally, the plaintiff asserted the ’101 Patent against 23 defendants in the span

of fourteen months. None of the cases advanced past the pleading stage.
IV.     LEGAL STANDARD

        A.     Judgment Should be Entered in Favor of EZ Web at the Pleading Stage.
        In the Fifth Circuit, the standard for dismissal under Federal Rules of Civil Procedure

Rule 12(c) is the same as that for dismissal for failure to state a claim under Federal Rule of

Civil Procedure 12(b)(6). Johnson v. Johnson, 385 F.3d 503, 529 (5th Cir. 2004). See also

MyMail, Ltd. v. ooVoo, LLC, 934 F.3d 1373, 1378 (Fed. Cir. 2019) (held that the Federal

Circuit reviews a district court’s Rule 12(c) dismissal for judgment on the pleadings under

the law of the regional circuit).

        A complaint can be dismissed under Rule 12(b)(6) if the factual allegations it

contains, taken as true, do not state a claim that is plausible on its face. Amacker v.

Renaissance Asset Mgmt., LLC, 657 F.3d 252, 254 (5th Cir. 2011). In other words, under

Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim upon which

relief can be granted. “Under Rule 12(b)(6), federal courts are required to dismiss claims

based upon invalid legal theories even though they might otherwise be well-pleaded.” Breen

v. Tex. A&M Univ., 485 F.3d 325, 336 (5th Cir. 2007). Similarly, the Federal Circuit held

that “[a] motion made under Rule 12(b)(6) challenges the legal theory of the complaint, not

the sufficiency of any evidence that might be adduced. The purpose of the rule is to allow the

court to eliminate actions that are fatally flawed in their legal premises and destined to fail,

and thus to spare litigants the burdens of unnecessary pretrial and trial activity.” Advanced

Cardiovascular Sys. v. SciMed Life Sys., 988 F.2d 1157, 1160 (Fed. Cir. 1993). To avoid

dismissal under Rule 12(b)(6), “plaintiffs must plead enough facts to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955,

167 L. Ed. 2d 929 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 173 L.
Ed. 2d 868 (2009). As with any 12(b)(6) motion to dismiss, courts accept well-pled factual


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allegations as true, but plaintiffs “must allege a plausible entitlement to relief in order to

withstand the motion.” Twombly, 127 S.Ct. at 1967–69.

        Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561

U.S. 593, 602 (2010). Accordingly, the § 101 inquiry is properly raised at the pleadings stage

if it is apparent from the face of the patent that the asserted claims are not directed to eligible

subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19 (Fed. Cir. 2014)

(Mayer, J., concurring). In those situations, claim construction is not required to conduct a §

101 analysis. Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed. Cir.

2012) (“[W]e perceive no flaw in the notion that claim construction is not an inviolable

prerequisite to a validity determination under § 101.”).
        B.      The Law of 35 U.S.C. § 101.

        Section 101 of the Patent Act sets forth four categories of patentable subject matter:

“any new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C.

§ 101. The law recognizes three exceptions to patent eligibility: “laws of nature, physical

phenomena, and abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 309 (1980)

(emphasis added). Abstract ideas are ineligible for protection because a monopoly over these

ideas would preempt their use in all fields. See Bilski, 561 U.S. at 611–12. In other words,

“abstract intellectual concepts are not patentable, as they are the basic tools of scientific and

technological work.” Id. at 653 (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).
        Determining whether a patent claim is impermissibly directed to an abstract idea

involves two steps. First, the court determines “whether the claims at issue are directed to a

patent-ineligible concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355

(2014). Second, if the claim contains an abstract idea, the court evaluates whether there is “an

‘inventive concept’—i.e., an element or combination of elements that is sufficient to ensure

that the patent in practice amounts to significantly more than a patent upon the ineligible

concept itself.” Id. (internal quotations and citations omitted).

        Transformation into a patent-eligible application requires “more than simply stating
the abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative


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Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Furthermore, the use of a

generic hardware or computer technology to perform well-understood, routine, and

conventional activities commonly used in industry, does not make a claim patent eligible. ”

Content Extraction & Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1348 (Fed.

Cir. 2014). Also, a claim is not meaningfully limited if it includes only token or insignificant

pre- or post-solution activity—such as identifying a relevant audience, category of use, field

of use, or technological environment. Mayo, 132 S. Ct. at 1297–98, 1300–01; Bilski, 561

U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191–92 & n.14 (1981); Parker v. Flook, 437

U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional steps, specified at a high

level of generality, to laws of nature, natural phenomena, and abstract ideas cannot make

those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort

Props., Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad

and general limitation does not impose meaningful limits on the claim’s scope.”). Although

factual allegations are generally presumed true in the context of a Rule 12(b)(6) inquiry, any

such allegations concerning the inventive nature of the claims cannot be “wholly divorced

from the claims or the specification.” Cellspin Soft, Inc. v. Fitbit, Inc., 927 F.3d 1306, 1317

(Fed. Cir. 2019).
V.     ARGUMENT

       The claims of the Asserted Patent are invalid under 35 U.S.C. § 101 because they fail

both prongs of the Alice test. Each of the claims is directed to the abstract idea of

communicating information about an article of commerce by use of a marking. Abstract ideas

are not eligible for patenting. None of the claims contains an “inventive concept sufficient to

ensure that the patent in practice amounts to significantly more than a patent upon the

ineligible concept itself.” See Alice, 134 S. Ct. at 2355 (emphasis added). Because Scanning

Technologies cannot state a claim upon which relief may be granted, EZ Web respectfully

requests that the Court dismiss this case with prejudice. FED. R. CIV. P. 12(b)(6), 12(c).




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       A.      The ’101 Patent is Invalid Under 35 U.S.C. § 101

               1.      Alice Step 1: The ’101 Patent is directed to the abstract idea of
                       communicating information about an article of commerce by use of
                       a marking.

       Claim 1 is directed to the abstract idea of communicating information about an article

of commerce by use of a marking. Assessing whether Claim 1 is directed to an abstract idea,

begins by analyzing the “focus” of the claim, i.e., its “character as a whole,” in order to

determine whether the claim is directed to an abstract idea. SAP Am., Inc. v. InvestPic, LLC,

898 F.3d 1161, 1167 (Fed. Cir. 2018). It is necessary to examine a patent’s “‘claimed

advance’ to determine whether the claims are directed to an abstract idea.” Finjan, Inc. v.

Blue Coat System, Inc., 879 F.3d 1299, 1303 (Fed. Cir. 2018). A court should strip away

“excess verbiage” in order to determine what the claim is directed to. Affinity Labs of Tex.,

LLC v. Directv, LLC, 838 F.3d 1253, 1256 (Fed. Cir. 2016). Here, the ’101 Patent is directed

to communicating information about an article of commerce by use of a marking. ’101

Patent, Cl. 1. Put simply, the applicant claimed the use of conventional technology to provide

information to a consumer as to whether more information about a product is available.

       The idea of determining whether more information related to an article of commerce

exists is a fundamental practice that can be carried out manually. In essence, the patent

claims the fundamental activity of asking a salesperson for information. Take, for example, a

customer who goes to a store to purchase a camera. The customer may see a camera on

display. However, the customer does not know whether the camera is in stock, or whether it

has all the functions the customer desires. The customer may then ask a salesperson for

additional information. The salesperson may look at the displayed item, and respond that he

or she can look up the information for the customer. Alternatively, the sales person may be

unaware of any further information, and may inform the customer accordingly. This captures

the fundamental concept of the Asserted Claim.

       The Federal Circuit’s decision in Secured Mail is highly instructive. In Secured Mail,
the Federal Circuit held claims directed to “communicating information about a [mail object]

by use of a marking” to be abstract. Secured Mail, 873 F.3d 905, 909 (Fed. Cir. 2017). The

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claims at issue in Secured Mail involved using QR codes on mail packaging to obtain

information related to the mailing. Id. at 908. This is similar to the Asserted Claim, in which

a barcode is used to retrieve information. ’101 Patent, Cl. 1, 7:50–64. In Secured Mail, the

court held that the claims were “not limited to any particular technology of generating,

printing, or scanning a barcode.” Secured Mail, 873 F.3d at 911. Thus, “each step of the

process is directed to the abstract process of communicating information about a mail object

using a personalized marking” Id. In a similar manner, the Asserted Claim is simply directed

to using a scanning device to scan a marking and retrieve information related to a

product.’101 Patent, Cl. 1. The claims are not limited in any meaningful way to any

particular technology.

        The Secured Mail court further addressed whether Enfish, which was decided after

the trial court rendered its opinion, altered the trial court’s patent ineligibility determination.

Secured Mail, 873 F.3d at 910. The court held that it did not, explicitly stating that the trial

court had correctly determined that the claims were directed to an abstract idea. Id.

Specifically, the court differentiated Secured Mail from Enfish by noting that the claims at

issue in Enfish were directed to an improvement in computer functionality, while the claims

in Secured Mail were not, stating that the claims were “not directed to a new barcode format,

an improved method of generating or scanning barcodes, or similar improvements in

computer functionality.” Id.

        Recently, similar barcode related claims were found patent ineligible. In Coding

Techs., LLC v. Miss. Power Co., the court analyzed claims directed to “using a barcode on a

mobile device to facilitate bill payment.” Coding Techs., LLC v. Miss. Power Co., 2020 U.S.

Dist. LEXIS 249547, *8, 2020 WL 8410430. The court specifically found that the claims

were “in all relevant respects similar to the barcode-related patents found to embrace an

abstract idea as in Secured Mail.” Id. at *11. Hence, the court found that the claims, which

“recite a method whereby a billing transaction is facilitated by virtue of user and billing

information encoded in a barcode,” to be directed to an abstract idea, as “the claims do not
set forth any particular method [by which] the barcode is to be generated or scanned, or any

method of improving the speed, efficiency, or accuracy of barcode functionality.” Id. The
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court also found that the claims did not improve computer functionality. Id. The Asserted

claim here are similar to the ones in Coding Tech in that they are directed to communicating

information about an article of commerce by use of a marking (or a barcode). Additionally,

the Asserted Claim uses conventional components and is not directed to an improvement in

computer functionality. See generally ’101 Patent, Cl. 1. Thus, the claims here are also

directed to an abstract idea.

       The claim language confirms that representative Claim 1 is directed to the abstract

idea of communicating information about an article of commerce by use of a marking. The

claim recites generic hardware including “a mobile device,” “a visual input device,” “a signal

processing device,” and “a server.” ’101 Patent, Cl. 1. Nothing in the claim language is

concerned with improving the functioning of any of the hardware from a technical

standpoint, which is why the claimed components are described “in vague terms without any

meaningful limitations.” In re TLI, Commc’ns LLC Patent Litig., 823 F.3d 607, 612–13 (Fed.

Cir. 2016) (“the focus of the patentee and of the claims was not on” improved hardware

because the specification described the functionality of the hardware “in vague terms without

any meaningful limitations”).

       The Federal Circuit’s decision in ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d

759 (Fed. Cir. 2019) is also instructive. The ChargePoint claims were directed to a

communication network to facilitate finding a recharging facility, controlling the facility, and

paying for the electricity consumed. Id. at 766. But the claim described this process only in

high-level functional terms, such as “a control device to turn electric supply on and off” and

“a transceiver to communicate requests.” Id. The specification never even suggested that the

charging station itself would operate differently or that it was “improved from a technical

standpoint.” Id. at 768. The Federal Circuit therefore concluded that the risk of preemption

was high because the broad claim language “would cover any mechanism for implementing

network communication on a charging station.” Id. at 770. It further noted that, “[e]ven if

ChargePoint’s specification had provided, for example, a technical explanation of how to
enable communication over a network for device interaction (which, as discussed above, it

did not), the claim language here would not require those details.” Id. at 769–70.
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       Like the claims in ChargePoint, the applicant of the ’101 Patent failed to disclose the

details of how to implement his system for determining the existence of more information

related to an article of commerce. Instead, the applicant described the system only at a high

level of generality. For example, the mobile device of the Asserted Claim has a

“communication interface” which allows it to communicate with a server and look up

information.’101 Patent, Cl. 1. The Asserted Claim also discloses a “server” which stores a

look-up table. Id., 9:59–64. But nothing in Claim 1 explains how the mobile device must be

programmed to download the look-up table from the server. Moreover, nothing suggests that

the mobile device or any other component is “improved from a technical standpoint.” See

ChargePoint, 920 F.3d at 768. In other words, the broad claim language covers only the

resulting system the applicants envisioned, but not how to achieve it. See Internet Patents

Corp. v. Active Network, Inc., 790 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that claim

not directed to patent-eligible subject matter where “[t]he mechanism for maintaining the

state is not described, although this is stated to be the essential innovation.”).

       By only claiming the desired result— communicating information about an article of

commerce by use of a marking —without describing any specific roadmap for doing so,

Claim 1 of the ’101 Patent falls short of claiming eligible subject matter under § 101. See

Internet Patents, 790 F.3d at 1348. Indeed, the claim risks preempting all methods or systems

for communicating information about an article of commerce by use of a marking. See, e.g.,

Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex.

2014) (finding “preemptive effect . . . broad” where “the claims [were] largely functional in

nature, they [did] not provide any significant description of the particular means by which the

various recited functions are performed,” and “[a]ll that [was] disclosed [was] the ultimate

objective”). The law is clear that claims that “recite the concept, but not the way to

implement it,” are ineligible for patenting. Epic IP LLC v. Backblaze, Inc., 351 F. Supp. 3d

733, 740 (D. Del. 2018). Such is the situation with the Asserted Claim.

       Claim 1 thus fails Alice step one because it is directed to a patent-ineligible abstract
idea. Alice, 134 S. Ct. at 2355. Claim 1 of the ’101 Patent is representative of all the claims

because all the claims are “substantially similar and linked to the same abstract idea.” See
                                               12
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Content Extraction and Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1348 (Fed.

Cir. 2014) (holding that district court’s analysis of representative claims was appropriate

where claims were “substantially similar and linked to the same abstract idea”).2

Accordingly, all of the claims of the ’101 Patent are directed to an abstract idea.
                2.      Alice Step 2: No inventive concept to transform the abstract idea
                        into patent-eligible subject matter is disclosed.

        Because Claim 1 of the ’101 Patent is directed to an abstract idea, the Court must next

determine whether it contains an “inventive concept sufficient to transform the claimed

abstract idea into a patent eligible application.” Alice, 134 S. Ct. at 2357 (internal quotations

omitted). To pass this test, Claim 1 “must include additional features” that “must be more

than well-understood, routine, conventional activity.” Ultramercial, 772 F.3d at 715

(quotation omitted). Here, Claim 1 is broadly generic and does not contain meaningful

limitations that would restrict it to a non-routine, specific application of the abstract idea.

        The applicant acknowledged that “[p]ortable digital devices are now common.” The

applicant further acknowledged that “[v]arious communications technologies are frequently

built into these devices” and “mobile devices may employ an incorporated imaging device to

scan Universal Product Codes (UPCs) or other symbologies disposed on articles of

commerce to receive more information on such articles.” Id. at 1:48, 1:59–62. The problem

identified by the applicant was that “devices take time to connect to the Internet (if Internet
service is even available) and then the user still may or may not have information on the

article of commerce.” Id. at 1:64–66. The applicant contended that the delay and lack of

information leads to user frustration. Id. at 1:66–2:2. The applicant thus proposed a solution

whereby a user may be notified of the existence of a link to information of an article of

commerce. Id. at 2:17–19.

        The solution, however, is claimed and implemented via the conventional application



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  See also Phoenix Licensing, L.L.C. v. Consumer Cellular, Inc., No. 2:16-cv-152-JRG-RSP,
2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims after analyzing
only a few “representative claims” where the other claims were “substantially similar” and
“linked to the same abstract idea.”).
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of generic means. There is no unconventional feature or activity disclosed in the Asserted

Claim. This is especially true given that no special programming or improved component is

claimed. All that is disclosed to perform the functionality of retrieving information as to the

existence of further information of an article of commerce is a “mobile device” having a

generic “visual input device” and “signal processing device,” a “server” that hosts a “look-up

table,” and “digital files,” where the mobile devices uses the visual input device to scan a

barcode and retrieve the relevant information from the look-up table. Id., Cl. 1.

       However, Claim 1 is altogether devoid of any technical explanation as to how to

implement the purported invention. See In re TLI, 823 F.3d at 615 (claims failed Alice’s step

2 where specification limited its discussion of “additional functionality” of conventional

components “to abstract functional descriptions devoid of technical explanation as to how to

implement the invention”). “At Alice step two, it is [thus] irrelevant whether [communicating

information about an article of commerce by use of a marking] may have been non-routine or

unconventional as a factual matter.” BSG Tech, 899 F.3d at 1290–91 (“As a matter of law,

narrowing or reformulating an abstract idea does not add ‘significantly more’ to it.”); see

also Berkheimer v. HP Inc., 881 F.3d 1360, 1370 (Fed. Cir. 2018) (claims lacked an

inventive concept because they “amount to no more than performing the abstract idea of

parsing and comparing data with conventional computer components”); Affinity Labs of Tex.,

838 F.3d 1262 (claim lacked an inventive concept because it “simply recites the use of

generic features . . . as well as routine functions . . . to implement the underlying idea”).

Adding generic functionality to an existing mobile device does not amount to an inventive

concept as a matter of law. See Alice, at 2359-60.

       Claim 1 fares no better when its limitations are viewed in combination. The applicant

did not describe how the claimed system “is a technical improvement over prior art.” See

Bascom Global Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350 (Fed. Cir.

2016) (emphasis added). The applicant sought only to reduce user frustration with finding

information related to an article of commerce. ’101 Patent, 1:66–2:6. He did so by storing a
look-up table that can be accessed locally and thus reduce user frustration because,

purportedly, the user would at least know whether further information exists. See id. This
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merely adds generic database functionality to the mobile device See ChargePoint, 920 F.3d

759, 774-75 (rejecting plaintiff’s reliance on Bascom because the claims “do not improve the

technology” but instead “merely add generic networking capabilities to [the claimed

components] and say ‘apply it’”). Considering the limitations in combination “add[s] nothing

. . . that is not already present when the [limitations] are considered separately.” Alice, 134

S.Ct. at 2359 (internal brackets and quotation marks omitted). There is nothing “inventive”

about using a mobile device and adding generic database functionality. Claim 1 is devoid of

any technical explanation as to how to implement the invention and thus provides no

inventive concept. See In re TLI, 823 F.3d at 615 (claims failed Alice’s step 2 where

specification limited its discussion of “additional functionality” of conventional components

“to abstract functional descriptions devoid of technical explanation as to how to implement

the invention”).

        And the Asserted Patent’s use of terms such as “barcodes” and “information link

indicators” to describe computer components that were known in the art is not enough to

confer patentability. See Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d

1322, 1341 (Fed. Cir. 2017) (“In particular, the MRTs and PRTs—although technical

sounding—include generic data types for which the system can store the extracted data.”)

(emphasis added). Indeed, the Supreme Court has long “warn[ed] . . . against interpreting

§ 101 ‘in ways that make patent eligibility depend simply on the draftsman’s art.’” Alice, 134

S. Ct. at 2360 (quoting Mayo, 132 S. Ct., at 1294). Barcodes were known in the art. ’101

Patent at 7:61–64; see also Secured Mail, 873 F.3d at 912(“[t]he use of barcodes was

commonplace and conventional in 2001”) (emphasis added).). The information link

indicator may simply be a “status or check signal,” neither of which would be unknown to

those in the art. Id. at 4:4-19.

        Here again, the Coding Techs case is instructive. There, the court analyzed the similar

barcode related patent claims under the second step of Alice and found that they did not

disclose an inventive concept. See also Coding Techs., 2020 U.S. Dist. LEXIS 249547 at
**14-19. The court specifically noted that ““[t]he use of barcodes was commonplace and

conventional” as early as 2001, as was the concept of a barcode-encoded URL” Id. at *16
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(citing Secured Mail, 873 F.3d at 912). The court also found that the claims were silent “as to

the means by which [the] computing tasks are to be performed” and merely disclosed a

“generic computer” performing “generic computer tasks.” Id. at **17-19. Thus, the court

concluded that the patent-in-suit did not “present an inventive concept sufficient to render the

abstract idea of using barcodes to facilitate bill payment patentable.” Id. at *20. Similarly

here, the claims of the Asserted Patent are directed to conventional barcode technology and

recite only generic computer tasks performed by generic computing devices/components (e.g.

“mobile device,” “server,” “visual input device”) or generic computer software (e.g “digital

files,” “look-up table”). ’101 Patent, Cl. 1. Thus, the claims of the ’101 patent fail to disclose

an inventive concept.

       Unlike in Berkheimer, this case does not present any factual disputes requiring

resolution before the Court can decide this § 101 issue. In Berkheimer, the Federal Circuit

noted that the specification explicitly “describe[d] an inventive feature that store[d] parsed

data in a purportedly unconventional manner.” Berkheimer, 881 F.3d at 1369. The Federal

Circuit then examined whether the improvements described in the specification were

included in the claims. For those claims where the inventive feature in the specification was

“captured in the claims,” the Federal Circuit found a “factual dispute regarding whether the

invention describe[d] well-understood, routine, and conventional activities.” Id. But where

the claims did not recite the purportedly inventive features described in the specification, the

Federal Circuit concluded that they were directed to patent ineligible subject matter under

§ 101. Id. Here, in contrast, there is no need for fact discovery at all because neither Claim 1

nor the specification of the Asserted Patent describes any unconventional components or the

use of generic components in some unconventional manner, and no amount of fact discovery

can change that.

       As discussed above, the purported advance of Scanning Technologies’s claims is the

idea of communicating information about an article of commerce by use of a marking. ’101

Patent at 2:17-19. But Claim 1 of the ’101 Patent does not describe any particular
mechanism for achieving the result. See Secured Mail., 873 F.3d at 912 (claims fail Alice

step two where “[t]he claim language does not provide any specific showing of what is
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inventive about the [limitation in question] or about the technology used to generate and

process it”). The recited limitations—whether considered individually or as an ordered

combination—are insufficient to add “significantly more” to the abstract idea.

       Because it is altogether devoid of any “inventive concept,” Claim 1 of the ’101 Patent

is thus patent-ineligible under § 101. See Alice, 134 S. Ct. at 2359–60.
               3.      The remaining claims are also abstract and contain no “inventive
                       concept.”

       The remaining claims of the Asserted Patent recite the same abstract idea:

communicating information about an article of commerce by use of a marking. Indeed, the

remaining independent claims of the Asserted Patent are substantially similar to the Asserted

Claim. Because these independent claims cannot be meaningfully distinguished from Claim 1

of the ’101 Patent, they are ineligible for the same reasons.

       The dependent claims fare no better. The only differences relate to token or

insignificant pre- or post-solution activity— for example, displaying the information

retrieved (Claims 2, 8, 13, and 18), producing audio alerts (Claims 3, 9, 14, and 19), updating

(Claims 5, 10, and 20), and linking (Claims 4, 11, 15, and 21). See Ultramercial, 722 F.3d at

1346 (“claim . . . will not be limited meaningfully if it contains only insignificant or token

pre or post-solution activity—such as identifying a relevant audience, a category of use, field

of use, or technological environment”). Indeed, all the dependent claims are written in the

same or similar high-level of generality as in Claim 1 of the ’101 Patent. None of these
limitations is sufficient to raise the claims beyond the abstract idea to which they are

directed.

       Like Claim 1 of the ’101 Patent, the limitations in the remaining claims are directed

to the same abstract idea of communicating information about an article of commerce by use

of a marking and are altogether devoid of any “inventive concept.” They are thus patent

ineligible under § 101. See Alice, 134 S. Ct. at 2359-60; see also Berkheimer, 881 F.3d at

1365 (“Courts may treat a claim as representative where there is no “meaningful argument
for the distinctive significance of any claim limitations not found in the representative

claim”).
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VI.     CONCLUSION

        For the foregoing reasons, EZ Web respectfully requests that the Court dismiss

Scanning Technologies’s Complaint based on the pleadings. Because leave to amend would

be futile, EZ Web respectfully requests dismissal with prejudice.




      Dated: June 22, 2021                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing document has been served

on all counsel of record via the Court’s ECF system on June 22, 2021.



                                                                 /s/ Neil J. McNabnay
                                                                 Neil J. McNabnay




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